Case 6:14-cv-06090-SOH Document 23             Filed 10/23/14 Page 1 of 3 PageID #: 128




                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              HOT SPRINGS DIVISION


LAUREN SISSON, Individually                                                        PLAINTIFF
and on Behalf of Others Similarly Situated


vs.                               No. 6:14-cv-6090


THE SALVATION ARMY                                                                DEFENDANT

                          MOTION FOR LEAVE TO FILE
                 FIRST AMENDED AND SUBSTITUTED COMPLAINT

       COMES NOW Plaintiff Lauren Sisson (“Plaintiff”), individually and on behalf of

others similarly situated, by and through her attorneys Josh Sanford and Steve Rauls of

the Sanford Law Firm, PLLC, and for her Motion for Leave to File First Amended and

Substituted Complaint against Defendant The Salvation Army (“Defendant”) does

hereby state and allege as follows:

       1.     Plaintiff asks for leave to file her First Amended and Substituted Complaint

for a sufficient and lawful reason.

       2.     The purposes of the First Amended and Substituted Complaint are 1) to

further define and expand upon Plaintiff’s individual claims under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000(e), et seq.; and 2) to add a claim under the

Arkansas Civil Rights Act of 1993, Ark. Code Ann. § 16-123-101, et seq.

       3.     Because the Complaint makes class allegations, Plaintiff has also added

the words “Class Action” to the case caption in an effort to comply with Local Rule 23.1.

       4.     Plaintiff brings this Motion for Leave pursuant to Rule 15(a)(2) of the

Federal Rules of Civil Procedure, which states that “The court should freely give leave
                                            Page 1 of 3
                           Lauren Sisson, et al. v. The Salvation Army
                                U.S.D.C. (W.D. Ark) 6:14-cv-6090
               Motion for Leave to File First Amended and Substituted Complaint
Case 6:14-cv-06090-SOH Document 23              Filed 10/23/14 Page 2 of 3 PageID #: 129




when justice so requires.” See also Foman v. Davis, 371 U.S. 178, 182 (1962) (“In the

absence of any apparent or declared reason -- such as undue delay, bad faith or dilatory

motive on the part of the movant, repeated failure to cure deficiencies by amendments

previously allowed, undue prejudice to the opposing party by virtue of allowance of the

amendment, futility of amendment, etc. -- the leave sought should, as the rules require,

be ‘freely given.’”).

       5.      No Final Scheduling Order has yet issued in this case, nor have the

Parties held their Rule 26(f) planning conference.

       6.      This Motion is not offered for the purpose of delay, and the proposed

amendments to Plaintiff’s Complaint will not prejudice any party.

       7.      Pursuant to Rule 5.5 (e) of the Rules of the United States District Court for

the Eastern and Western Districts of Arkansas, Plaintiffs have attached a copy of the

proposed First Amended and Substituted Complaint to this Motion as Exhibit 1,

incorporated herein by reference.

       WHEREFORE, premises considered, Plaintiff respectfully requests an order of

this Court granting leave to file Plaintiff’s First Amended and Substituted Complaint, and

for such other and further relief as this Court may deem necessary, just and proper.




                                             Page 2 of 3
                            Lauren Sisson, et al. v. The Salvation Army
                                 U.S.D.C. (W.D. Ark) 6:14-cv-6090
                Motion for Leave to File First Amended and Substituted Complaint
Case 6:14-cv-06090-SOH Document 23           Filed 10/23/14 Page 3 of 3 PageID #: 130




                                         Respectfully submitted,

                                         PLAINTIFF LAUREN SISSON,
                                         Individually and on Behalf of Others
                                         Similarly Situated

                                         SANFORD LAW FIRM, PLLC
                                         ONE FINANCIAL CENTER
                                         650 SOUTH SHACKLEFORD, SUITE 411
                                         LITTLE ROCK, ARKANSAS 72211
                                         TELEPHONE: (501) 221-0088
                                         FACSIMILE: (888) 787-2040

                                  By:       /s/ Steve Rauls
                                         Steve Rauls
                                         Ark. Bar No. 2011170
                                         steve@sanfordlawfirm.com


                                  and    Josh Sanford
                                         Ark. Bar No. 2001037
                                         josh@sanfordlawfirm.com

                             CERTIFICATE OF SERVICE
       The undersigned counsel hereby certifies the foregoing MOTION was filed via
the Court’s CM/ECF System on this 23rd day of October, 2014, and thereby
electronically served upon the following counsel of record:
Mr. J. Bruce Cross
Mr. Gregory J. Northen
Cross, Gunter, Witherspoon & Galchus, P.C.
500 President Clinton Avenue, Suite 200
Post Office Box 3178
Little Rock, Arkansas 72203
Mr. Leonard Court
Mr. Daniel Johnson
Mr. Allen Hutson
Crowe & Dunlevy
A Professional Corporation
Braniff Building
324 North Robinson Avenue, Suite 100
Oklahoma City, Oklahoma 73102-8273
                                                /s/ Josh Sanford_____________
                                                Josh Sanford

                                          Page 3 of 3
                         Lauren Sisson, et al. v. The Salvation Army
                              U.S.D.C. (W.D. Ark) 6:14-cv-6090
             Motion for Leave to File First Amended and Substituted Complaint
